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IN THE UNITED sTATEs DIsTRICT COURT ""'~
FOR THE WESTERN DIsTRICT oF TENNESSEE 05 HAy _5 PH 2_ b 7

EASTERN DIvlsIoN
MARY BETH FLoWERs, § (;`;75? \Hf/‘F';, du §§?Lg
Plainriff, ) KSON
v. § No. 04-1287 T/An
MEMPHIs sLEEP LABs, INC., §
Defendant. g

 

ORDER GRANTING MOTION TO AMEND PARTIES, TO AMEND COMPLAINT
AND TO HOLD SUMMARY JUDGMENT IN ABEYANCE

 

Before the Court is Plaintiff" s Motion to Amend Parties, to Amend Complaint and to
Hold Summary Judgment in Abeyance filed on April 1, 2005. United States District Judge
James D. Todd referred the portion of Plaintif`f's Motion seeking the Court to Hold Summary
Judgment in Abeyance to the Magistrate Judge f`or determination1 For the reasons set forth
below, the Motion is GRANTED.

BACKGROUND

Plaintif`f first seeks leave of the Court to amend the parties in this lawsuit. Specifically,
Plaintiffwishes to name Louviere Enterprises, Inc. in place of the current Def`endant, Memphis
Sleep Labs, lnc., dfb/a Mid-South Sleep Disorder Clinic. Defendant does not oppose Plaintiff"s
request to amend the parties. Plaintiff also seeks leave to amend her Complaint to allege that five

separate sleep disorder clinics operated from the Jackson, Tennessee office are in essence a

 

l'l`he Magistrate Judge may consider the remainder of Plaintiff"s Motion without a specific Order of
Ref`erence.

This document entered on the docket sheet ln compliance
with sale sa and/or 79 (a) FacP on 5 ~O '

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single employer Within the meaning of the American with Disabilities Act. Plaintif`f finally
requests that the Court hold Defendant’s summary judgment in abeyance pending further
discovery. Plaintiff argues she was unfamiliar with the ownership structure of Louviere
Enterprises during the course of her employment; therefore, Plaintiff requests that the Court
afford her additional time to conduct discovery.
ANALYSIS

A pleading may be amended “only by leave of court . . . and leave shall be freely given
when justice so requires.” Fed. R. Civ. P. l$(a). “ln deciding whether to allow an amendment,
the court should consider the delay in filing, the lack of notice to the opposing party, bad faith by
the moving party, repeated failure to cure deficiencies by previous amendments, undue prejudice
to the opposing party, and futility of amendment.” Perkins v. Am. Elec. Power Fuel Supply, Inc.,
246 F.3d 593, 605 (6th Cir. 2001).

ln this matter, Plaintiff has shown good cause Why she should be allowed to amend the
parties to this action and to amend her Complaint. Furthermore, the Court can see no reason Why
the proposed amendments would be prejudicial to Defendant As such, for good cause shown
and because leave to amend should be freely granted, the Motion to Amend Parties and the
Motion to Amend Complaint is GRANTED. Plaintif`f shall file her Amended Complaint within
ll days of entry of this Order. Moreover, for good cause shown and because Defendant does not
object to Plaintiff’ s Motion to Hold Summary Judgment in Abeyance, the Motion to Hold
Summary Judgment in Abeyance is GRAN'I`ED. Plaintiff shall be given an additional 60 days

from the date of entry of` this Order to respond to Defendant’s Motion for Summary Judgment.

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Pursuant to the Order of Reference, any objections to this Order shall be made in writing
within ten days after service of this Order and shall set forth with particularity those portions of
the Order objected to and the reasons for those objections

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: ;' vle Oé»', ZOQ]/-

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 21 in
case 1:04-CV-01287 Was distributed by f`aX, mail, or direct printing on
May 9, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

